Case 1:24-cr-20110-DPG Document 110 Entered on FLSD Docket 05/06/2025 Page 1 of 8




                               UNITED STATES DISTRICT COURT
                               SOUTIIERN DISTRICT OF FLORIDA
                                Case No. 24-CR-20110-GA YLES(s)


  UNITED STA TES OF AMERICA

  vs.

  EDNER ETIENNE,
            Defendant.
                                                    I

                                        PLEA AGREEMENT

         The United States of America and Edner Etienne (hereinafter referred to as the

  Adefendant@) enter into the following agreement:

         1.   The defendant agrees to plead guilty to Count 3 of the Superseding Indictment, which

  charges the defendant with stalking, in violation of Title 18, United States Code, Section 2261A;

  and Count 7 of the Superseding Indictment, which charges the defendant with racketeering

  Promotion, in violation of Title 18, United States Code, Section 1952; and Count 9 of the

  Superseding Indictment, which charges the defendant with use of fire in furtherance of a felony,

  in violation of Title 18, United States Code, Section 844(h).

         2.   The Office of the United States Attorney agrees to seek dismissal of Counts 8, and

  Counts 10-12 of the Superseding Indictment, as to this defendant, after sentencing.

         3.   The defendant is aware that the sentence will be imposed by the court after considering

  the Federal Sentencing Guidelines and Policy Statements (hereinafter ASentencing Guidelines@).

  The defendant acknowledges and understands that the comt will compute an advisory sentence

  under the Sentencing Guidelines and that the applicable guidelines will be determined by the court

  relying in pmt on the results of a Pre-Sentence Investigation by the court=s probation office, which

  investigation will commence after the guilty plea has been entered.    The defendant is also aware

  that, under certain circumstances, the comt may depart from the advis01y sentencing guideline
Case 1:24-cr-20110-DPG Document 110 Entered on FLSD Docket 05/06/2025 Page 2 of 8




  range that it has computed, and may raise or lower that adviso1y sentence under the Sentencing

  Guidelines.    The defendant is fmiher aware and understands that the court is required to consider

  the advisory guideline range determined under the Sentencing Guidelines, but is not bound to

  impose that sentence; the comi is permitted to tailor the ultimate sentence in light of other statuto1y

  concerns, and such sentence may be either more severe or less severe than the Sentencing

  Guidelines= advisory sentence.          Knowing these facts, the defendant understands and

  acknowledges that the comi has the authority to impose any sentence within and up to the statuto1y

  maximum authorized by law for the offenses identified in paragraph 1 and that the defendant may

  not withdraw the plea solely as a result of the sentence imposed.

         4.     The defendant also understands and acknowledges that, as to Count 3 of the

  Superseding Indictment, the comi may impose a maximum term of ten years' imprisomnent,

  followed by a maximum term of three years' supervised release.         As to Count 7, the comi may

  impose a maximum te1mofimprisonment oftwentyyears' imprisonment, followed by a maximum

  term of three years' supervised release.       As to Count 9, the comi must impose a statuto1y

  mandatmy minimum of ten years' imprisonment, and may impose a maximum te1m of

  imprisonment of twenty years, followed by a maximum te1m of three years' supervised release.

  The mandato1y minimum sentence for Count 9 is required to run consecutive to any sentence

  imposed for Counts 3 and 7. In addition to a term of imprisonment and supervised release, the

  comi may impose a fine of ui$250,000 for each count.        Additionally, restitution may be ordered.

          5.    The defendant further understands and acknowledges that, in addition to any sentence

  imposed under paragraph 4 of this agreement, a special assessment in the amount of $100 will be

  imposed on the defendant for each count, resulting in a total special assessment of $300.          The

  defendant agrees that any special assessment imposed shall be paid at the time of sentencing.

                                                     2
Case 1:24-cr-20110-DPG Document 110 Entered on FLSD Docket 05/06/2025 Page 3 of 8




         6.     The Office of the United States Attorney for the Southern District of Florida

  (hereinafter AOffice@) reserves the right to inform the comi and the probation office of all facts

  pe1iinent to the sentencing process, including all relevant information concerning the offenses

  committed, whether charged or not, as well as concerning the defendant and the defendant=s

  background.     Subject only to the express terms of any agreed-upon sentencing recommendations

  contained in this agreement, this Office fmiher reserves the right to make any recommendation as

  to the quality and quantity of punishment.

         7.     The United States agrees that it will recommend at sentencing that the comi reduce

  by two levels the sentencing guideline level applicable to the defendant=s offense, pursuant to

  Section 3El.l(a) of the Sentencing Guidelines, based upon the defendant=s recognition and

  affirmative and timely acceptance of personal responsibility.       If at the time of sentencing the

  defendant=s offense level is determined to be 16 or greater, the government will make a motion

  requesting an additional one level decrease pursuant to Section 3E 1.1 (b) of the Sentencing

  Guidelines, stating that the defendant has assisted authorities in the investigation or prosecution of

  his own misconduct by timely notifying authorities of his intention to enter a plea of guilty, thereby

  permitting the government to avoid preparing for trial and permitting the government and the comi

  to allocate theirresources efficiently.   The United States, however, will not be required to make

  this motion and these recommendations if the defend ant: ( 1) fails or refuses to make a full, accurate

  and complete disclosure to the probation office of the circumstances surrounding the relevant

  offense conduct; (2) is found to have misrepresented facts to the government prior to entering into

  this plea agreement; or (3) commits any misconduct after entering into this plea agreement,




                                                    3
Case 1:24-cr-20110-DPG Document 110 Entered on FLSD Docket 05/06/2025 Page 4 of 8




  including but not limited to committing a state or federal offense, violating any term of release, or

  making false statements or misrepresentations to any governmental entity or official.

          8.   The defendant also agrees that the defendant shall assist this Office in all proceedings,

  whether administrative or judicial, involving the fo1feiture to the United States of all rights, title,

  and interest, regardless of their nature or form, in all assets, including real and personal property,

  cash and other monetary instruments, wherever located, which the defendant or others to his

  knowledge have accumulated as a result of illegal activities.       Such assistance will involve an

  agreement on defendant's paii to the entry of an order enjoining the transfer or encumbrance of

  assets which may be identified as being subject to forfeiture.     Additionally, defendant agrees to

  identify as being subject to forfeiture, including but not limited to those specific real and personal

  prope1iies set forth in the forfeiture counts of the Superseding Indictment, all such assets, and to

  assist in the transfer of such propeliy to the United States by delivery to this Office upon this

  Office's request, all necessaiy and appropriate documentation with respect to said assets, including

  consents to f01feiture, quit claim deeds and any and all other documents necessaiy to deliver good

  and marketable title to said prope1iy.

          9.      The defendant agrees that he/she shall cooperate fully with this Office by: (a)

  providing truthful and complete information and testimony, and producing documents, records and

  other evidence, when called upon by this Office, whether in interviews, before a grand jmy, or at

  any tlial or other Comi proceeding; (b) appearing at such grand jury proceedings, hearings, trials,

  and other judicial proceedings, and at meetings, as may be required by this Office; and (c)          if

  requested by this Office, working in an undercover role under the supervision of, and m

  compliance with, law enforcement officers and agents.       In addition, the defendant agrees that he




                                                     4
Case 1:24-cr-20110-DPG Document 110 Entered on FLSD Docket 05/06/2025 Page 5 of 8




  will not protect any person or entity through false information or omission, that he will not falsely

  implicate any person or entity, and that he that he will not commit any fmiher crimes.

          10.      This Office reserves the right to evaluate the nature and extent of the defendant's

  cooperation and to make that cooperation, or lack thereof, known to the Comi at the time of

  sentencing.     If in the sole and unreviewable judgment of this Office the defendant's cooperation

  is of such quality and significance to the investigation or prosecution of other criminal matters as

  to warrant the Cami's downward departure from the advisory sentencing range calculated under

  the Sentencing Guidelines and/or any applicable minimum mandatory sentence, this Office may

  make a motion prior to sentencing pursuant to Section 5K 1.1 of the Sentencing Guidelines and/or

  Title 18, United States Code, Section 3553(e), or subsequent to sentencing pursuant to Rule 35 of

  the Federal Rules of Criminal Procedure, informing the Comi that the defendant has provided

  substantial assistance and recommending that the defendant's sentence be reduced.                The

  defendant understands and agrees, however, that nothing in this agreement requires this Office to

  file any such motions, and that this Office's assessment of the quality and significance of the

  defendant's cooperation shall be binding as it relates to the appropriateness of this Office's filing

  or non-filing of a motion to reduce sentence.

          11.      The defendant understands and acknowledges that the Comi is under no obligation

  to grant a motion for reduction of sentence filed by this Office.   In addition, the defendantfmiher

  understands and acknowledges that the Comi is under no obligation of any type to reduce the

  defendant's sentence because of the defendant's cooperation.

          12.      The defendant is aware that Title 18, United States Code, Section 3742 and Title

  28, United States Code, Section 1291 afford the defendant the right to appeal the sentence imposed

  in this case.   Acknowledging this, in exchange for the unde1iakings made by the United States in


                                                    5
Case 1:24-cr-20110-DPG Document 110 Entered on FLSD Docket 05/06/2025 Page 6 of 8




  this plea agreement, the defendant hereby waives all rights conferred by Sections 3742 and 1291

  to appeal any sentence imposed, including any restitution order, or to appeal the manner in which

  the sentence was imposed, unless the sentence exceeds the maximum pennitted by statute or is the

  result of an upward depmiure and/or an upward variance from the adviso1y guideline range that

  the Court establishes at sentencing.     The defendant fmiher understands that nothing in this

  agreement shall affect the government's right and/or duty to appeal as set forth in Title 18, United

  States Code, Section 3742(b) and Title 28, United States Code, Section 1291.       However, if the

  United States appeals the defendant's sentence pursuant to Sections 3742(b) and 1291, the

  defendant shall be released from the above waiver of appellate rights.   By signing this agreement,

  the defendant acknowledges that the defendant has discussed the appeal waiver set fo1ih in this

  agreement with the defendant's attorney. The defendant fu1iheragrees, together with this Office,

  to request that the Comi enter a specific finding that the defendant's waiver of his right to appeal

  the sentence imposed in this case was knowing and voluntmy.

         13.    The defendant is aware that the sentence has not yet been determined by the comi.

  The defendant also is aware that any estimate of the probable sentencing range or sentence that the

  defendant may receive, whether that estimate comes from the defendant=s attorney, the

  government, or the probation office, is a prediction, not a promise, and is not binding on the

  government, the probation office or the comi.        The defendant understands fmiher that any

  recommendation that the government makes to the court as to sentencing, whether pursuant to this

  agreement or othe1wise, is not binding on the court and the court may disregard the

  recommendation in its entirety.    The defendant understands and acknowledges, as previously

  acknowledged in paragraph 3 above, that the defendant may not withdraw his plea based upon the




                                                   6
Case 1:24-cr-20110-DPG Document 110 Entered on FLSD Docket 05/06/2025 Page 7 of 8




  comi=s decision not to accept a sentencing recommendation made by the defendant, the

  government, or a recommendation made jointly by both the defendant and the government.

            14.   In the event the defendant withdraws from this agreement prior to or after pleading

  guilty to the charge identified in paragraph one above, or should the Offices, in their sole

  discretion, dete1mine that the defendant has failed to fully comply with any of the terms of this

  plea agreement, the Offices will be released from its obligations under this agreement, and the

  defendant agrees and understands that:

            (a) the defendant thereby waives any protection afforded by any proffer letter agreement

  between the pmiies, Section 1B 1.8 of the Sentencing Guidelines, Rule l l(f) of the Federal Rules

  of Criminal Procedure, and Rule 410 of the Federal Rules of Evidence;

            (b) that any statements made by the defendant as pmi of the plea discussions, any

  debriefings or interviews, or in this agreement, whether made prior to or after the execution of this

  agreement, will be admissible against hin1 without any limitation in any civil or criminal

  proceeding brought by these Offices;

            (c) the defendant's waiver of any defense based on the statute of lin1itations and venue,

  including the waiver set fo1ih in this agreement, or any defense based on the passage of time in

  filing an Indictment or Superseding Information, referred to herein, shall remain in full force and

  effect;

            (d) the defendant stipulates to the admissibility and authenticity, in any case brought by the

  United States in any way related to the facts referred to in this agreement, of any documents

  provided by the defendant or the defendant's representatives to any state or federal agency and/or

  these Offices; and




                                                      7
Case 1:24-cr-20110-DPG Document 110 Entered on FLSD Docket 05/06/2025 Page 8 of 8




          (e) the defendant has adopted the entire factual basis as the defendant's statements, and the

  defendant has stipulated to the admissibility of the Factual Proffer in any case brought by the

  United States.

          15.   This is the entire agreement and understanding between the United States and the

  defendant.    There are no other agreements, promises, representations, or understandings.

                                                HAYDEN P.O'BYRNE
                                                UNITED STATES ATTORNEY


  Date:    s{bl2s                              By:
                                                         BRIAN DOBBINS
                                                         ASSISTANTUNTTED STATES ATTORNEY


  Date:                                        By:
                                                         ABBIE D. WAXMAN
                                                         ASSISTANT UNITED STA TES ATTORNEY


                                              By:
                                                     ROBY                        .
                                                     ATTO                        DANT


                                               By:




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